                   Case 2:21-cv-01130-BJR Document 18 Filed 09/24/21 Page 1 of 4



 1                                               THE HONORABLE BARBARA J. ROTHSTEIN

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 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7

 8
     LEON CARP, individually and on behalf of others
 9   similarly situated,
                                                       No. 2:21-cv-01130-BJR
10                    Plaintiff,
                                                       STIPULATION AND ORDER TO
11            v.                                       EXTEND TIME TO ANSWER
                                                       COMPLAINT
12   T-MOBILE USA, INC.,

13                    Defendant.

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24    STIPULATION AND ORDER TO                                                Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
      EXTEND TIME TO ANSWER                                            Seattle, Washington 98101-3099
25    COMPLAINT                                                              Phone: 206.359.8000
      (No. 2:21-cv-01189-BJR) - 1                                             Fax: 206.359.9000
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                   Case 2:21-cv-01130-BJR Document 18 Filed 09/24/21 Page 2 of 4



 1            Under Western District of Washington Local Rules 7(d)(1) and 10(g), Plaintiff Leon Carp

 2   and Defendant T-Mobile USA, Inc., (“the Parties”), stipulate that T-Mobile’s deadline to answer

 3   or otherwise respond to the Complaint in the above-captioned action is extended for a total of 30

 4   days, through November 17, 2021.

 5            Good cause exists for this extension, as there is a pending motion before the Judicial Panel

 6   on Multidistrict Litigation (“JPML”) regarding transfer and coordination or consolidation of

 7   related cases for pretrial proceedings under 28 U.S.C. § 1407, filed on August 23, 2021. See In re

 8   T-Mobile Customer Data Security Breach Litigation., MDL Docket No. 3019 (ECF No. 1). The

 9   plaintiffs in another case, Daruwalla v. T-Mobile USA, Inc., No. 2:21-cv-1118 (W.D. Wash. filed

10   Aug. 19, 2021), filed the transfer motion and identified this case, and numerous others, as related

11   cases that should be transferred. Id. (ECF Nos. 1, 8-1, 11, 20). The additional 30 days will

12   conserve judicial resources by allowing T-Mobile to assess the pending JPML motion and continue

13   discussions with Plaintiffs’ counsel here and counsel in the related cases before responding to

14   Plaintiff’s Complaint.

15                                                  Dated: September 23, 2021

16                                                  By: /s/ Steve Y. Koh
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                                                    Lauren J. Tsuji, WSBA No. 55839
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                   Case 2:21-cv-01130-BJR Document 18 Filed 09/24/21 Page 3 of 4



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                   Case 2:21-cv-01130-BJR Document 18 Filed 09/24/21 Page 4 of 4



 1                                            ORDER
     IT IS SO ORDERED.
 2
     Dated this 24th day of September 2021.
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 4                                                        s/Barbara J. Rothstein
                                                          Barbara J. Rothstein
 5                                                        U.S. District Court Judge

 6   Presented by:
     /s/ Steve Y. Koh
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